










NUMBER 13-02-002-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

___________________________________________________________________


LAURIE A. MILLER , Appellant,


v.


THE STATE OF TEXAS, Appellee.

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On appeal from the 36th District Court

of Aransas County, Texas.

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O P I N I O N


Before Chief Justice Valdez and Justices Dorsey and Hinojosa 

Opinion Per Curiam


Appellant seeks to appeal from an order imposing sanctions on defendant and continuing or modifying community
supervision.  We dismiss the appeal for want of jurisdiction.

In Basaldua v. State, 558 S.W.2d 2 (Tex. Crim. App. 1977), the Court held that a defendant may not appeal from an order
continuing a defendant on probation with amended terms and conditions.  There is neither constitutional nor statutory
authority which would confer jurisdiction on this Court to hear an appeal from an order modifying probationary conditions. 
Basaldua, 558 S.W.2d at 5.

Accordingly, the appeal is dismissed.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 24th day of January, 2002 .


